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    m                           US Army Corps of Engineers

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     Omaha District Commander provides update regarding
     North Dakota activities                                                                                                Related Content
                                                                                                                                                                  EXHIBIT

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                                                                                                                            Related Link Frequently Asked Q.pcst1-QnS_:
    Posted 11/27/2016                                                                                                       DAPL
                                                                                                                            Related Link HQ_USACE Web page on DAPL
    Release no. 20161127-001
                                                                                                                            Related Link ,Draft and Final Emrironmcnt,1!
    Contact                                                                                                                 Assessment - DAPL
    Omaha District Public Affairs 402-995-2417                                                                              Related News Story Statement Regarding the
                                                                                                                            Dakota Access Pipeline
                                                                                                                            Related News Story Omaha Dimrict
    OMAHA, NE- On November 25, 2016, after                                                                                  Commander statement regarding North
    coordination with Tribal leaders involved in the ongoing                                                                Dakota activities
    protest of the Dakota Access Pipeline on which some of                                                                  Related News Story U.S. Army Corps of
    the land is currently leased to a local rancher for grazing,                                                            Engineers grants Special Use Permit to
    the U.S. Army Corps of Engineers notified Tribal leaders                                                                Standing Rock Sioux Tribe
    throughout the Missouri River basin by letter that areas of
                                                                                                                            Related News Story Dakota Access Pipeline
    Corps-managed federal property north of the Cannonball
                                                                                                                            final EA and FONSI released for ND Section
    River will be closed to the public effective December 5,
                                                                                                                            408 crossings
    2016. The Army Corps of Engineers is seeking a peaceful
    and orderly transition to a safer location, and has no plans
    for forcible removal. But those who choose to stay do so
    at their own risk as emergency, fire, medical, and law enforcement response cannot be adequately provided in
    these areas. Those who remain will be considered unauthorized and may be subject to citation under federal,
    state, or local laws. This will reduce the risk of harm to people in the encampments caused by the harsh North
    Dakota winter conditions

    This transition is also necessary to protect the general public from the dangerous confrontations between
    demonstrators and law enforcement officials which have occurred near this area. "Unfortunately, it is apparent
    that more dangerous groups have joined this protest and are provoking conflict in spite of the public pleas from
    Tribal leaders. We are working to transition those engaged in peaceful protest from this area and enable law
    enforcement authorities to address violent or illegal acts as appropriate to protect public safety," said Omaha
    District Commander, Col. John Henderson.

   The Army Corps of Engineers has never been able to legally issue a permit for the Oceti Sakowin camp north of
   the Cannonball River due to the pre-existing grazing lease to a local rancher. However, the Corps has established
   an area on land south of the Cannonball River for anyone wishing to peaceably protest the Dakota Access
   pipeline project. In this area, jurisdiction for police, fire, and medical response is better-defined since it is
   located inside of the Reservation boundaty making it a more sustainable area for visitors to endure the harsh
   North Dakota winter.

   "I am very concerned for the safety and well-being of all citizens at these encampments on Corps-managed
   federal land, and we want to make sure people are in a safe place for the winter," said Henderson. "We fully
   support the rights of all Americans to exercise free speech and peacefully assemble, and we ask that they do it in
   a way that does not also endanger themselves or others, or infringe on others' rights."

   In the letter and ongoing discussions with Tribal leadership, the Corps will continue to encourage everyone
   located in this area to peacefully move to the free speech zone south of the Cannonball River or to a more
   sustainable location for the winter. The Army Corps of Engineers and the Bureau of Indian Affairs will continue

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  to work with the Standing Rock Sioux Tribe to suppoti a winter camp on trust land already identified by the
  Tribe.




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